     Case 1:20-cv-00094-JPB Document 2 Filed 05/19/20 Page 1 of 2 PageID #: 49




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                AT CLARKSBURG


MICHAEL J. FLORIO,

               Plaintiff,

        v.                                                     Civil Action No.: 1:20-cv-94
                                                               Judge Keeley

WESTWOOD ONE, INC., and
CUMULUS MEDIA, INC.

               Defendants.

              DISCLOSURE STATEMENT PURSUANT TO Fed. R. Civ. P. 7.1
                               (Civil Action)

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant, who is Cumulus

Media, Inc., makes the following disclosure:

1.      Is the party a non-governmental corporate party?

               YES

2.      If the answer to Number 1 is “yes,” list below any parent corporation or state that there is
        no such corporation:

               Cumulus Media Inc. is a parent corporation and is a publicly traded company.

3.      If the answer to Number 1 is “yes,” list below any publically-held corporation that owns 10% or
        more of the party’s stock or state that there is no such corporation:

               Eaton Vance Management owns more than 10% of Cumulus Media Inc. Eaton
               Vance Management is a wholly owned subsidiary of Eaton Vance Corp., which is
               a publicly traded company.

         The undersigned party understands that under Rule 7.1 of the Federal Rules of Civil
Procedure, it will promptly file a supplemental statement upon any change in the information that
this statement requires.

                                                               /s/ Ashley C. Pack, Esq.
                                                               Signature of Counsel for Party
Date: May 19, 2020
  Case 1:20-cv-00094-JPB Document 2 Filed 05/19/20 Page 2 of 2 PageID #: 50




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
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MICHAEL J. FLORIO,

              Plaintiff,

       v.                                             Civil Action No.: 1:20-cv-94
                                                      Judge Keeley

WESTWOOD ONE, INC., and
CUMULUS MEDIA, INC.

              Defendants.

                              CERTIFICATE OF SERVICE

       I, Ashley C. Pack, do hereby certify that the foregoing DISCLOSURE STATEMENT

PURSUANT TO Fed. R. Civ. P. 7.1 was served upon all parties via the Court’s CM/ECF filing

system on May 19, 2020 as follows:


                                    C. David Morrison
                                     Michael J. Moore
                                 Steptoe & Johnson PLLC
                                400 White Oaks Boulevard
                                  Bridgeport, WV 26330
                                   Counsel for Plaintiff



                                         /s/ Ashley C. Pack, Esq.
                                         Ashley C. Pack (WV State Bar No. 10477)
